                     IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION                                 Motion GRANTED.
                                                                                Hearing set for
 UNITED STATES OF AMERICA                                                       3/11/14 at 9:30 a.m.

 V                                           3:13-00012-002
                                             JUDGE TRAUGER
 BRENDA ELISE EDWARDS

                          MOTION TO SET A HEARING ON
                               REPRESENTATION

        Comes counsel for the Petitioner to move this Honorable Court to set a hearing on

 further representation by undersigned counsel, and would show the following:

        1. Counsel and Mrs. Edwards are discussing how to proceed with the case and

           have differences. Mrs. Edwards will be in Nashville, Tennessee on Monday,

           March 10, 2014, to have a further meeting to discuss the case.

        2. In the meantime, under the circumstances undersigned counsel requests that

           the Court set a hearing on undersigned counsel continuing to represent Mrs.

           Edwards, and counsel would advise that Mrs. Edwards will be in Nashville,

           Tennessee, Monday, March 10 and Tuesday, March 11, 2014.

        3. Counsel will immediately advise the Court if the hearing is not necessary.

                                            RESPECTFULLY SUBMITTED:

                                            /s/ THOMAS J DRAKE
                                            THOMAS J. DRAKE
                                            405 ½ 31st AVE N STE B
                                            NASHVILLE TN 37209
                                            (615)320-1717
                                            Drake.Court@ThomasJDrake.com

                             CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing has been sent to AUSA
Sandra G. Moses and Kathryn B. Ward Assistant U.S. Attorneys, Suite A961, 110 9th
Ave S, Nashville TN 37203, by electronic filing on March 7, 2104.
                                                      /S/ THOMAS J DRAKE.
                                                      THOMAS J. DRAKE



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